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lN THE UNlTED STATES DlSTR|CT COURT
FOR THE SOUTHERN DISTRICT OF OH|O
WESTERN D|VlSlON

TRESSA SHERROD,
Administratrix of the Estate of

John Cravvford, ||l, et a/.,
P|aimiffs' : Case No. 3:14-cv-454
V- JUDGE WALTER H. RlCE
OFFICER SEAN W|LL|A|VlS, et
a/.,
Defendants.

 

DEClS|ON AND ENTRY OVERRUL|NG W|THOUT PHEJUD|CE THE
BEAVERCREEK DEFENDANTS' lVlOT|ON TO SEVER CLA|MS FOR
TRIAL (DOC. #117); SUSTAlN|NG THE BEAVERCREEK
DEFENDANTS' lVlOT|ON FOR SEPARATE TR|ALS (DOC. #l89l

 

This matter is currently before the Court on two motions filed by the
Beavercreek Defendants. On lVlarch 6, 2018, they asked the Court to sever the
claims against them from the claims against Wai-l\/lart, pursuant to Fed. R. Civ. P.
21 and 42(b). Docs. ##117. The Court reserved ruling on this motion pending
resolution of summary judgment motions. See Doc. #127. On December 21 ,
2018, the Beavercreel< Defendants asked the Courtr under Fed. R. Civ. P. 42(b), to
bifurcate trial of the claims against Officer Williams from the claims against the
City of Beavercreek and Chief Dennis Evers. Doc. #189.

The Court has now issued Decisions and Entries overruling in part and

sustaining in part the motions for summary judgment filed by the Beavercreek

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Defendants and by Wal-l\/lart. Docs. ##240, 273. The Beavercreek Defendants
have filed an interlocutory appeal on the questions of qualified and statutory
immunity. Doc. #272. During a conference call held on January 25, 2019, the
Court vacated the February 4, 2019, trial date in light of that interlocutory appeal.
The filing of a notice of appeal confers jurisdiction on the appellate court and
divests the district court of jurisdiction to proceed on ”those aspects of the case
involved in the appeal." Grr'ggs v. Prov/'dem‘ Consumer Disc. Co., 459 U.S. 56, 58
(1982). Here, however, the interlocutory appeal is limited to the question of
Whether the individual Beavercreek defendants are immune from suit. The Court is
not divested of jurisdiction over other aspects of the case. A/ice ,l_. v. Dusek, 492
F.3d 563, 564-65 (5th Cir. 2007). The parties have indicated, and the Court
agrees, that it Would be helpful to issue rulings on many of the motions that are

still pending.

l. Beavercreek Defendants' Motion for Separate Trials (Doc. #189)

The Beavercreek Defendants have asked the Court to bifurcate trial of the
claims against Officer Williams from the claims against Chief Dennis Evers and the
City of Beavercreek, trying the claims against Officer Williams first. Doc. #189.
The Court realizes that this motion could become moot, depending on the Sixth
Circuit's resolution of the interlocutory appeal. Neverthe|ess, assuming that at
least some of the claims against Officer Williams remain for trial, the Court

concludes that bifurcation is vvarranted.

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Federal Ru|e of Civil Procedure 42(b) provides that “[f]or convenience, to
avoid prejudice, or to expedite and economize, the court may order a separate trial
of one or more separate issues, claims, crossclaims, counterclaims, or third-party
claims. When ordering a separate trial, the court must preserve any federal right to
a jury tria|."

As the Beavercreek Defendants correctly note, the § 1983 claims against
the City are predicated upon a finding that Officer Williams used excessive force
When he shot and killed .John Cravvford. f?obertson v. l_ucas, 753 F.3d 606, 622
(6th Cir. 2014). According|y, there is no need to present any evidence of the
City's alleged failure to train and supervise Officer Williams unless the jury first
finds that Officer Williams violated Cravvford's constitutional rights. Bifurcation
may, therefore, promote judicial economy.

lVlore importantly, the evidence needed to support the claims against the
City and against Chief Evers Would be highly prejudicial to Officer Williams. The
relevant question with respect to the § 1983 claim asserted against Williams is
Whether it Was objectively reasonable for him to use deadly force against Cravvford
in the particular situation W/'th Which he Was confronted Evidence that he used
force more often than other officers on the Beavercreek police force and evidence
of other, unrelated situations in vvhich he perhaps conducted himself in a less-than-
professional manner is not relevant to that determination. lVloreover, there is a

high risk that a jury Would improperly consider this evidence in determining

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whether Officer Williams used excessive force against Crawford. This would be
unfairly prejudicial to Williams.1

The Court therefore SUSTA|NS the Beavercreek Defendants' lVlotion for
Separate Trials, Doc. #189, and bifurcates trial of the claims against Officer
Williams from trial of the claims against Chief Evers and the City of Beavercreek.
These trials will be back-to-back. |f the jury finds that Officer Williams violated
Crawford's Fourth Amendment rights, the samejury will determine whether a
custom or policy of the City, i.e., failure to train or supervise, was the moving
force behind that constitutional violation, and whether Chief Evers was reckless in

his failure to train and supervise.

|l. Beavercreek Defendants' Motion to Sever Claims for Trial (Doc. #1 17)

The Beavercreek Defendants also asked the Court to sever the claims
against them from the claims against Wa|-lVlart. Doc. #117. The Wal-Nlart
Defendants joined in this motion. Doc. #123. Plaintiffs opposed it. Docs. #124,
202. Neverthe|ess, during the conference call held on January 25, 2019, counsel
for Plaintiffs and Wal-|Vlart agreed that the February 4, 2019, trial should be

vacated in light of the interlocutory appeal filed by the Beavercreek Defendants.

 

1 Plaintiffs also suggest that evidence of Officer Williams' prior uses of force may
be admissible for impeachment purposes or to prove intent, habit or absence of
mistake. The Court makes no determination concerning the admissibility of such
evidence at this juncture. Counsel is directed not to mention this evidence in its
opening statement and to ask to approach the bench prior to attempting to
introduce any such evidence at the trial of the claims against Officer Williams.

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As discussed during that conference cal|, the Court is inclined to overrule the
motion to sever the claims against the Beavercreek Defendants from the claims
against Wal-l\/lart. At this juncture, however, the Court makes no definitive ruling.
The Court OVERRULES the lVlotion to Sever, Doc. #117, W|THOUT PREJUD|CE to
re-fi|ing after the Si)<th Circuit renders a decision on the interlocutory appeal and it

is known for certain which claims and which Defendants remain for trial.

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Date: January 31, 2019 ,JZ~R-\Q

WALTER H. R|CE
UNlTED STATES DlSTR|CT JUDGE

 

